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                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                         NO. 3:23-CR-126

           V.                                    (Judge Mannion)

RALPH PARRY,                                     (FILED UNDER SEAL)
                    Defendant.

                                   ORDER

      AND NOW, this                 day of                        2024, upon

consideration of the Motion for Continuance of Sentencing, the Court

hereby finds that a continuance outweighs the best interests of the public

and the Defendant in a speedy trial. Accordingly it is hereby ordered as

follows:

      1.   The sentencing in this matter scheduled for January 17, 2024

is hereby continued and will be rescheduled to take place on

_ _ _ _l _q_ _ , 2024; at 11 •!JD          It .m.;

      2.   The period of time from the signing of this Order to the

rescheduled date of the sentencing shall be excluded under the Speedy

Trial Act, Title 18, United States Code, Section 316l(h)(7).


                                        s/~
                                    MALA.CHY E. MANNION
                                    U.S. DISTRICT COURT ;JUDGE
